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 4                               UNITED STATES DISTRICT COURT
 5                                       DISTRICT OF NEVADA
 6
 7   UNITED STATES,                            )
                                               )
 8                     Plaintiff,              )                 Case No. 2:12-cr-00004-MMD-GWF
                                               )
 9   vs.                                       )                 ORDER
                                               )
10   JERMAINE SMITH,                           )
                                               )
11                     Defendant.              )
     __________________________________________)
12
            This matter is before the Court on Government’s Emergency Motion to Stay Release Order
13
     #198 and Set a Bond Hearing (#199), filed August 9, 2012.
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            By way of this motion, Government requests a stay of Order #198, which releases
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     Defendant Jermaine Smith from pretrial custody. It indicated that Pretrial Services wishes to be
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     heard on the appropriate conditions of release as they may be contrary to those suggested by the
17
     parties’ stipulation (#197). Government also requests that the Court canvas Defendant on the
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     record as to his understanding of the release conditions. The Court considered these arguments in
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     finding the stay appropriate and orders that a bond hearing be set. Accordingly,
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            IT IS HEREBY ORDERED that Government’s Emergency Motion to Stay Release Order
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     #198 and Set a Bond Hearing (#199) is granted.
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            IT IS FURTHER ORDERED that a bond hearing is set for Tuesday, August 14, 2012, at
23
     9:00 a.m., in Las Vegas Courtroom 3D.
24
            DATED this 10th day of August, 2012.
25
26
27                                                ______________________________________
                                                  C.W. Hoffman, Jr.
28                                                United States Magistrate Judge
